Case 2:03-cr-20434-SH|\/| Document 89 Filed 05/19/05 Page 1 of 2 Page|D 117

iN THE UNITED sTATEs DISTRICT COURT' ' " '
FOR THE wESTERN DISTRICT oF TENNESS.,"}:;E; ,_ § ,; .
WESTERN DIvIsIoN

 

UNITED STA'I`ES OF AMERICA

vs. CR. NO. 03-20434

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JENNIFER TUCKER

 

ORDER HOLDING DEFENDANT FOR REVOCATION HEARING

 

On May 19, 2005, the defendant appeared before me on a charge of violation of the terms
and conditions of his/her probation/supervised release in this matter. The defendant was or had
previously been advised ofhis/her rights under FRCrP 5 and 32.l(a)(l) and appeared With counsel,
Edwin Periy for Ned Germany Who vvas appointed

At this hearing, the Court, after hearing proof, concluded thatprobable cause Was established
that the defendant had violated the terms and conditions of her pretrial release.

Accordingly, defendant is held to a revocation hearing before the United States Magistrate
Judge to Whom this case is referred. A revocation hearing pursuant to FRCrP 32.l(a)(2), is set for
Monday, June 6 at 9:30 a.m. before Magistrate Judge Tu M. Pham in Courtroom #6, Third Floor
of the Federal Courthouse, Memphis, Tennessee.

IT ls so 0RDEREI) this [?f.‘.‘day ofMay, 2005.

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S. 'I`HOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

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UNITED TATES DISTRIC COURT - WERNSTE D"RITICT 0 TENNESSEE

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May 19, 2005 to the parties listed.

 

 

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Honorable Saniuel Mays
US DISTRICT COURT

